32 F.3d 573
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.John James KASH, Defendant-Appellant.
    No. 93-50850.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 3, 1994.*Decided Aug. 15, 1994.
    
      Before:  WALLACE, Chief Judge, HUG and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      John James Kash appeals his twelve-month sentence imposed following entry of a guilty plea to failing to appear for service of a sentence, in violation of 18 U.S.C. Sec. 3146(a)(2).
    
    
      3
      Pursuant to  Anders v. California, 386 U.S. 738 (1967), Kash's counsel filed a brief that presents no meritorious issues for review.  Counsel also filed a motion to withdraw as counsel of record.  Our independent review of the record pursuant to  Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.  Accordingly, the motion of counsel to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    